     Case: 1:17-cv-00377-JG Doc #: 204 Filed: 03/07/18 1 of 1. PageID #: 6000



                                        Nos. 17-4232/4262

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                                                               FILED
DERRICK WHEATT; LAURESE GLOVER;                            )                Mar 07, 2018
EUGENE JOHNSON,                                            )            DEBORAH S. HUNT, Clerk
                                                           )
       Plaintiffs-Appellees,                               )
                                                           )
v.                                                         )       ORDER
                                                           )
CARMEN MARINO; DEBORAH NAIMAN,                             )
                                                           )
       Defendants-Appellants (17-4262),                    )
                                                           )
CITY OF EAST CLEVELAND; MICHAEL C.                         )
PERRY; VINCENT K. JOHNSTONE;                               )
D. J. MIKLOVICH; PATRICIA LANE; CHARLES                    )
TEEL; TERRENCE DUNN,                                       )
                                                           )
       Defendants-Appellants (17-4232),                    )
                                                           )
JOHN C. BRADFORD; CUYAHOGA COUNTY,                         )
                                                           )
       Defendants.                                         )



       The appellants and appellees in 17-4262 jointly move to severe that appeal from 17-4232

and to stay 17-4262. The court being advised notes that according to the district court’s docket,

the parties have not filed a Federal Rule of Civil Procedure 62.1 motion in the district court and

there is therefore nothing in the record to support the request.

       The motion is DENIED.

                                               ENTERED BY ORDER OF THE COURT



                                               Deborah S. Hunt, Clerk
